Case 2:24-cv-05649-SB-AGR       Document 15     Filed 10/10/24   Page 1 of 1 Page ID
                                       #:64



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 5 Attorneys for Plaintiff,
 6 MARQUISE BAILEY
 7                         UNITED STATES DISTRICT COURT
 8                       CENTRAL DISTRICT OF CALIFORNIA
 9
10                                                Case No.: 2:24-cv-05649-SB (AGRx)
     MARQUISE BAILEY,
11                                                NOTICE OF SETTLEMENT OF
                  Plaintiff,                      ENTIRE CASE
12
13         vs.
14
   COIN LAUNDRY; BCLR LLC; and
15 DOES 1 to 10,
16
                  Defendants.
17
18         Notice is hereby given that Plaintiff MARQUISE BAILEY ("Plaintiff") and
19 Defendants have settled the above-captioned matter as to the entire case. Parties
20 request that the Court grant thirty (30) days from the date of this filing for Plaintiff
21 to file dispositional documents in order to afford Parties time to complete settlement.
22
     DATED: October 10, 2024                      SO. CAL EQUAL ACCESS GROUP
23
24                                                      /s/ Jason J. Kim
                                                  JASON J. KIM
25                                                Attorney for Plaintiff
26
27
28

                                                         NOTICE OF SETTLEMENT OF ENTIRE CASE
